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                         Release Plan for Mr. Mark Anderson

Background

This Re-Entry Plan for Mr. Mark Anderson provides resources that will support Mr.
Anderson’s reintegration into the community. A Social Worker retained in connection with
the Criminal Justice Act (CJA) appointment in this case developed the following re-entry
plan working with Mr. Anderson to understand his housing, income, and medical needs,
among others.

Major Supports for Re-Entry


     Housing          • Upon release from custody, Mr. Anderson can live at
                        Blessings Care (BC) Room and Board located at
                        3718 40th Street Sacramento, CA 95820.
                      • BC will provide a room and daily meals for Mr.
                        Anderson. BC is located less than 1.5 miles from UC
                        Davis Medical Center, where Mr. Anderson will
                        access health care. BC also has experience
                        connecting residents with transportation support to
                        medical appointments and the Social Security office.
                      • The Saint Vincent De Paul Society in Sacramento
                        and West Sacramento have agreed to sponsor Mr.
                        Anderson’s monthly rent for up to three months, so
                        that he can stabilize and start the process of getting
                        his SSI reinstated. (Please see the attached letter
                        from Saint Vincent De Paul Society).
                      • Mr. Anderson can stay at Blessings Care indefinitely.
      Income          • Mr. Anderson’s history of employment will yield a
                        Social Security benefit that will provide for his
                        major needs. Prior to custody, Mr. Anderson
                        received SSDI compensation, and he will start the
                        process of getting SSI reinstated post release.
                      • Mr. Anderson also intends to eventually gain
                        employment where he can utilize his administrative
                        skills when his health conditions have stabilized.




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 Medical Care      • Mr. Anderson has health conditions that will
                     warrant careful treatment and consideration,
                     especially given the continued COVID-19 pandemic.
                   • Mr. Anderson survived a traumatic train wreck in
                     the late 1990s and is a cancer survivor. The train
                     accident left him with a severe back injury that
                     requires attention very soon. And, while his cancer
                     prognosis is not threatening, he will need ongoing
                     monitoring to ensure his remission continues. He
                     also has chronic conditions that are exacerbated by
                     his age. These will need ongoing care as well.
                   • Upon release from custody, Mr. Anderson will be
                     eligible for Medicare. If Terminal Island FCI can
                     support Mr. Anderson in establishing his Medicare
                     coverage, he may be covered upon release from
                     custody. If not, Mr. Anderson can contact
                     California’s Medicare hotline to start the process of
                     signing up for healthcare services and be eligible
                     within 30-60 days. During the waiting period for
                     Medicare, Mr. Anderson can receive primary care
                     medical services at a community health clinic
                     should he need them.
Transportation     • FCI Terminal Island has communicated that they
                     will support Mr. Anderson’s transportation and any
                     necessary accommodations from Terminal Island to
                     Sacramento.
                   • Mr. Anderson’s Medicare coverage will support him
                     in gaining reduced cost transportation, which will
                     help him establish/re-establish relationships with
                     doctors and pursue the medical care and
                     procedures he needs to support his independence.
                   • Mr. Anderson’s long-term goal is to purchase a
                     vehicle as his primary mode of transportation.
Social-Emotional   • The Exodus Project, a community organization in
                     Sacramento that offers mentorship and support for
                     individuals after their release from custody, has
                     committed to providing services to Mr. Anderson
                     upon his release (Please see the attached letter from
                     Rabbi Seth Castleman, Director of Exodus Project, for
                     more information).
                   • Mr. Anderson’s girlfriend is Ms. Cynthia Witten, a
                     resident of Marin County. Mr. Anderson is in
                     frequent close communication with Ms. Witten, and
                     Mr. Anderson describes their relationship as stable
                     and supportive. Mr. Anderson will have the moral


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                 and emotional support of his relationship with Ms.
                 Witten as he re-establishes connections and social
                 networks in the broader community. Because Ms.
                 Witten has limited financial resources, she is not
                 able to provide Mr. Anderson with housing or
                 financial support at this time.
Social Work    • Mr. Anderson has CJA appointed counsel, and he is
                 receiving social work support through that court
                 appointment currently.
               • Mr. Anderson’s attorney will request an additional
                 15 hours of social work services to support his
                 transition post release. This will help Mr. Anderson
                 get grounded and stabilized in his new residence
                 and also start the process of reinstating his SSDI
                 and accessing medical care.




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